                                                    SO ORDERED.


                                                     Dated: July 20, 2011




                                                    Redfield T. Baum, Bankruptcy Judge
                                                    _________________________________




Case 2:10-ap-00829-RTB Doc 27 Filed 07/21/11 Entered 07/23/11 22:15:30      Desc
                     Imaged Certificate of Notice Page 1 of 7
Case 2:10-ap-00829-RTB Doc 27 Filed 07/21/11 Entered 07/23/11 22:15:30   Desc
                     Imaged Certificate of Notice Page 2 of 7
Case 2:10-ap-00829-RTB Doc 27 Filed 07/21/11 Entered 07/23/11 22:15:30   Desc
                     Imaged Certificate of Notice Page 3 of 7
Case 2:10-ap-00829-RTB Doc 27 Filed 07/21/11 Entered 07/23/11 22:15:30   Desc
                     Imaged Certificate of Notice Page 4 of 7
Case 2:10-ap-00829-RTB Doc 27 Filed 07/21/11 Entered 07/23/11 22:15:30   Desc
                     Imaged Certificate of Notice Page 5 of 7
                                                United States Bankruptcy Court
                                                     District of Arizona
 Waltz,
               Plaintiff                                                                           Adv. Proc. No. 10-00829-RTB
 MAZA,
               Defendant
                                                  CERTIFICATE OF NOTICE
 District/off: 0970-2                  User: brennerc                     Page 1 of 2                          Date Rcvd: Jul 21, 2011
                                       Form ID: pdf005                    Total Noticed: 5


 Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
 Jul 23, 2011.
 dft            ARMANDO MANUEL MAZA,    6321 E. PRESTON,   MESA, AZ 85215
 pla           +Candace Waltz,   c/o Andrew A. Harnisch,    Snell & Wilmer L.L.P.,   One Arizona Center,
                 Phoenix, AZ 85004-2280
 dft           +DONDRA MAZA,   6856 E. PEARL,    MESA, AZ 85207-1503
 pla           +Terry Waltz,   c/o Andrew A. Harnisch,    Snell & Wilmer L.L.P.,   One Arizona Center,
                 Phoenix, AZ 85004-2280

 Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
 ust          +E-mail/Text: ustpregion14.px.ecf@usdoj.gov Jul 22 2011 00:00:07     U.S. TRUSTEE,
                OFFICE OF THE U.S. TRUSTEE,   230 NORTH FIRST AVENUE,   SUITE 204,   PHOENIX, AZ 85003-1725
                                                                                             TOTAL: 1

               ***** BYPASSED RECIPIENTS *****
 NONE.                                                                                                               TOTAL: 0

 Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
 USPS regulations require that automation-compatible mail display the correct ZIP.




I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.

Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.




Date: Jul 23, 2011                                       Signature:




         Case 2:10-ap-00829-RTB Doc 27 Filed 07/21/11 Entered 07/23/11 22:15:30                                                Desc
                              Imaged Certificate of Notice Page 6 of 7
District/off: 0970-2          User: brennerc              Page 2 of 2                  Date Rcvd: Jul 21, 2011
                              Form ID: pdf005             Total Noticed: 5


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on July 21, 2011 at the address(es) listed below:
              ANDREW A. HARNISCH   on behalf of Plaintiff Candace Waltz aharnisch@swlaw.com,
               docket@swlaw.com;sllarson@swlaw.com
                                                                                             TOTAL: 1




      Case 2:10-ap-00829-RTB Doc 27 Filed 07/21/11 Entered 07/23/11 22:15:30                        Desc
                           Imaged Certificate of Notice Page 7 of 7
